Case 1:18-cr-20685-KMW Document 226 Entered on FLSD Docket 08/31/2020 Page 1 of 5



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.        1:18-cr-20685-KMW

   UNITED STATES OF AMERICA

   v.

   FRANCISCO CONVIT GURUCEAGA,
   JOSE VINCENTE AMPARAN CROQUER,
        a.k.a., “Chente,”
   CARMELO URDANETA AQUI,
   ABRAHAM EDGARDO ORTEGA,
   GUSTAVO ADOLFO HERNANDEZ FRIERI,
   HUGO ANDRE RAMALHO GOIS,
   MARCELO FEDERICO GUTIERREZ ACOSTA Y LARA, and
   MARIO ENRIQUE BONILLA VALLERA,

               Defendants.
   ___________________________________/

                      MOTION TO APPEAR PRO HAC VICE,
                  CONSENT TO DESIGNATION, AND REQUEST TO
            ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

         In accordance with Local Rule 4(b) of the Special Rules Governing the Admission and

  Practice of Attorneys of the United States District Court for the Southern District of Florida, the

  undersigned respectfully moves for the admission pro hac vice of Emiliano Martin De Luca,

  Esq. of the law firm Kobre & Kim LLP for purposes of appearance as co-counsel on behalf of

  Defendant Carmelo Urdaneta Aqui in the above-styled case only, and pursuant to Rule 2B of the

  CM/ECF Administrative Procedures, to permit Emiliano Martin De Luca to receive electronic

  filings in this case, and in support thereof states as follows:

  1.     Emiliano Martin De Luca is not admitted to practice in the Southern District of Florida,

  and is a member in good standing of the bars of the United States Court of Appeals for the Second

  Circuit and the United States District Courts for the Southern and Eastern Districts of New York.
Case 1:18-cr-20685-KMW Document 226 Entered on FLSD Docket 08/31/2020 Page 2 of 5



  2.        Movant, Victoria R. Morris, Esq., of the law firm Kobre & Kim LLP, is a member in good

  standing of the Florida Bar and the United States District Court for the Southern District of Florida,

  maintains an office in this State for the practice of law, and is authorized to file through the Court’s

  electronic filing system. Movant consents to be designated as a member of the Bar of this Court

  with whom the Court and opposing counsel may readily communicate regarding the conduct of

  the case, upon whom filings shall be served, who shall be required to electronically file all

  documents and things that may be filed electronically, and who shall be responsible for filing

  documents in compliance with the CM/ECF Administrative Procedures. See Section 2B of the

  CM/ECF Administrative Procedures.

  3.        In accordance with the local rules of this Court, Emiliano Martin De Luca has made

  payment of this Court’s $75 admission fee. A certification in accordance with Rule 4(b) is attached

  hereto.

  4.        Emiliano Martin De Luca, by and through designated counsel and pursuant to Section 2B

  CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic

  Filings to Emiliano Martin De Luca at email address: Martin.DeLuca@kobrekim.com.

            WHEREFORE, Victoria R. Morris moves this Court to enter an Order allowing Emiliano

  Martin De Luca to appear before this Court on behalf of Defendant Carmelo Urdaneta Aqui for all

  purposes relating to the proceedings in the above-styled matter and directing the Clerk to provide

  notice of electronic filings to Emiliano Martin De Luca.
Case 1:18-cr-20685-KMW Document 226 Entered on FLSD Docket 08/31/2020 Page 3 of 5



   Dated: August 31, 2020                   Respectfully submitted,

                                            KOBRE & KIM LLP

                                            /s/ Victoria R. Morris
                                            Victoria R. Morris, Esq.
                                            Florida Bar No. 125272
                                            Victoria.Morris@kobrekim.com
                                            201 South Biscayne Blvd.
                                            Suite 1900
                                            Miami, FL 33131
                                            Tel: +1 305 967 6100
                                            Fax: +1 305 967 6120

                                             Attorneys for Carmelo Urdaneta Aqui
Case 1:18-cr-20685-KMW Document 226 Entered on FLSD Docket 08/31/2020 Page 4 of 5



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Appear Pro

  Hac Vice, Consent to Designation, and Request to Electronically Receive Notices of Electronic

  Filings was served via ECF on August 31, 2020, on all counsel of record on the service list.



                                                              /s/ Victoria R. Morris
                                                                      Victoria R. Morris
Case 1:18-cr-20685-KMW Document 226 Entered on FLSD Docket 08/31/2020 Page 5 of 5
